                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                                 Case No. 98-CR-104

WILFREDO VASQUEZ,
              Defendant.


                                 DECISION AND ORDER

       I sentenced defendant Wilfredo Vaquez to life in prison, a $2500 fine and $4141.76

restitution. I did not set a specific schedule for payment of defendant’s financial obligations

but rather indicated that he was to participate in the Inmate Financial Responsibility

Program. Defendant now moves the court to set a specific payment schedule, arguing that

payment via the Inmate Financial Responsibility Program constitutes an impermissible

delegation of authority to the Bureau of Prisons.

       The Seventh Circuit recently clarified the law in this area, holding “that a judgment

of conviction need not contain a schedule of restitution payments to be made during

incarceration.” United States v. Sawyer, Nos. 06-1275, 06-1614, 06-4030, 2008 WL

942653, at *2 (7th Cir. Apr. 9, 2008). The Sawyer court explained that:

       leaving payment during imprisonment to the Inmate Financial Responsibility
       Program is not an error at all, let alone a plain error. The statute requires the
       judge to set a schedule if the defendant cannot pay in full at once, see 18
       U.S.C. § 3664(f)(2), but it does not say when the schedule must begin. We
       hold today that it need not, and as a rule should not, begin until after the
       defendant’s release from prison. Payments until release should be handled
       through the Inmate Financial Responsibility Program rather than the court’s
       auspices.

Id. at *3. Similarly, the Seventh Circuit recently confirmed that the district court need not

set a schedule of fine payments while the defendant is incarcerated. United States v. Ellis,

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No. 05-4677, 2008 WL 879861, at *2 (7th Cir. Apr. 3, 2008) (citing McGhee v. Clark, 166

F.3d 884, 886 (7th Cir. 1999)). The Ellis court explained that:

        criminal fines are discretionary, and sentencing courts must consider ability
        to pay when determining whether to impose any fine at all. Perhaps because
        its process requires this threshold determination, the fine statute contains no
        requirement that the sentencing court establish any manner of payment, but
        rather makes all fines due immediately absent a court order to the contrary.
        That is, it permits but does not require the district court to set an alternative
        payment schedule.

Id. at *3 (internal citations omitted).

        Thus, under Sawyer and Ellis, there was no error in failing to set a specific schedule

of payments during defendant’s incarceration.1 Nor would be it be appropriate, under the

logic of these cases, to set one now. The Bureau of Prisons is in a better position to

determine defendant’s ability to pay. If he is dissatisfied with the Bureau’s decisions,

defendant may appeal internally, see 28 C.F.R. § 545.11(d), or seek judicial review of the

Bureau’s final decision under the Administrative Procedure Act, see 5 U.S.C. § 702.

Sawyer, 2008 WL 942653, at *2.

        THEREFORE, IT IS ORDERED that defendant’s motion to set a payment schedule

(R. 2453) is DENIED. Defendant’s motion for prompt disposition (R. 2454) is denied as

moot.

        Dated at Milwaukee, Wisconsin this 10th day of April, 2008.


                                                     /s Lynn Adelman
                                                     _______________________
                                                     LYNN ADELMAN
                                                     District Judge


        1
       Defendant relies on United States v. Gunning, 401 F.3d 1145 (9th Cir. 2005), but the
Seventh Circuit rejected the Gunning approach in Sawyer, 2008 WL 942653, at *2. The
Sawyer court also overruled United States v. Pandiello, 184 F.3d 682 (7th Cir. 1999), upon
which defendant also relies. 2008 WL 942653, at *6.

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